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                              Exhibit 2003

Prepared by      Abbie Mace,
                 Fremont County Clerk

          Data for 2010 Primary Election, Fremont County
Number of Registered Voters for Primary Election (Includes
Election Day Registration)                                         6,780
Number of Voters Who Registered on Election Day                      123
Number of Voters in Primary Election                               3,076
Number of Voters Who Cast Ballots for a Republican               Approx.
Candidate or Candidates in Primary Election                        2,839
Number of Registered Voters Who Requested Ballots Under
Uniformed and Overseas Citizens Absentee Voting Act                       9
Number of Precincts in County                                            14
Number of Paid Election Officials for Primary Election                  100

          Data for 2008 Primary Election, Fremont County
Number of Registered Voters for Primary Election (Includes
Election Day Registration)                                         6,592
Number of Voters Who Registered on Election Day                      202
Number of Voters in Primary Election                               2,761
Number of Voters Who Cast Ballots for a Republican               Approx.
Candidate or Candidates in Primary Election                        2,554
Number of Registered Voters Who Requested Ballots Under
Uniformed and Overseas Citizens Absentee Voting Act                      13
Number of Precincts in County                                            14
Number of Paid Election Officials for Primary Election                  104




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         Estimated Costs for Re-registering Voters to Provide
         Option to Declare Affiliation with Republican Party
         Costs of Processing Registration Cards Estimated at
        Quartiles for 25%, 50%, 75% and 100% of Voters Re-
         registering with Complete Registration Information,
                           Fremont County
   Percent          Number of     Minutes to Enter Data      Election Worker’s      Total Costs
Re-registering       Voters                                  Salary + Benefits
    25%               1,695       8,475 min = 141.25 hr          $23.90/hr          $ 3,375.88
    50%               3,390      16,950 min = 282.50 hr          $23.90/hr          $ 6,751.75
    75%               5,085      25,425 min = 423.75 hr          $23.90/hr          $10,127.63
    100%              6,780      33,900 min = 565.00 hr          $23.90/hr          $13,503.50


                           I estimated 5 minutes per card.

         Costs of Processing Registration Card Estimated at
        Quartiles for 25%, 50%, 75% and 100% of Voters Re-
        registering with Incomplete Registration Information,
                           Fremont County
   Percent          Number of     Minutes to Enter Data      Election Worker’s      Total Costs
Re-registering       Voters          and Gather More         Salary + Benefits
                                       Information
    25%               1,695      16,950 min = 282.5 hr            $23.90/hr         $ 6,751.75
    50%               3,390      33,900 min = 565.0 hr            $23.90/hr         $13,503.50
    75%               5,085      50,850 min = 847.5 hr            $23.90/hr         $20,255.25
    100%              6,780      67,800 min = 1,130.0 hr          $23.90/hr         $27.007.00


                          I estimated 10 minutes per card.

    Costs of Printing and Mailing New Voter Registration Cards,
                          Fremont County
   Number of        Printing Cost per Mailing Cost per  Total Cost per            Total Costs
Registered Voters          Card             Card             Card
     6780           $ .07/ card       $ 1.15/ card     $ 1.22/ card            $8,271.60

  I estimated the mailing cost at $.44 to send and $.44 to return postage. I estimated the two
         envelopes to mail them in at $.10 and $.15 and the labels for mailing at $.02


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Kinds of Elections That Can Be Held on Day of May Primary
             Election in Even Numbered Years,
                      Fremont County
 Contested Party Primaries (Mandatory)
 Judicial Elections (Mandatory)
 School Levy Elections (Possible)
 All Fremont County Taxing District could have a Levy Election or a Recall
 Election. They are as follows:
 Fremont County
 8 Cities
 2 School Districts
 1 Ambulance District
 6 Cemetery Districts
 4 Fire Districts
 1 Hospital District
 2 Library Districts
 1 Mosquito Abatement District


    Costs of Printing Additional Ballots for Persons Who
    Decline to Identify with a Political Party and Wish to
                   Vote in Other Elections,
                       Fremont County
Number of Ballots to Be     Cost per Ballot           Total Costs
       Printed
        1550                 $ .45/ ballot              $697.50




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        Costs of Training Election Officials to Acquaint Them
       with Requirement to Declare Affiliation with Republican
            Party in Order Obtain Ballot with Republican
                   Candidates in Primary Election,
                          Fremont County
Number of Persons to   Training Time Per      Election Worker’s        Total Costs
   be Trained                Person          Salary Plus Benefits
       100                30 minutes                $10.00              $500.00
     Mileage                                          $                 $621.00

We hold an annual training each year that lasts approximately 2 hours. The poll
workers get paid $10.00 to attend that training plus mileage at the federal rate $.50.
I estimate of that 2 hour meeting it will take approximately 30 minutes to train.




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